Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 1 of 31 PageID #: 1




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


  In the Matter of the Search Regarding:     No. _ _  _ _ _ _ _ _ _ __
                                                   4:21-mj-147


  21-155-04                                  REDACTED APPLICATION FOR
                                             SEARCH AND SEIZURE
                                             WARRANT



      I, David Hohn, being duly sworn depose and say:

      I am a Special Agent with the Homeland Security Investigations, and have
reason to believe that on the property or premises as fully described in
Attachment A, attached hereto and incorporated herein by reference, there is
now concealed certain property, namely: that which is fully described in
Attachment B, attached hereto and incorporated herein by reference, which I
believe is property constituting evidence of the commission of criminal offenses,
contraband, the fruits of crime, or things otherwise criminally possessed, or
property designed or intended for use or which is or has been used as the means
of committing criminal offenses, concerning violations of 18 U.S.C. §§ 2251,
2252, and 2252A (production, receipt and possession of child pornography) and
18 U.S.C. § 2422(b), enticement of a minor using the internet.

      The facts to support a finding of Probable Cause are contained in my
Affidavit filed herewith.




                                           David Hohn, Special Agent
                                           Homeland Security Investigations
                                                                14th day of
      Subscribed and sworn to before me, telephonically, on the __

September, 2021, at Sioux Falls, South Dakota.


                                           tl~:1/J./b-
                                           VERONICA L. DUFFY
                                           United States Magistrate Judge
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 2 of 31 PageID #: 2




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION



    In the Matter of the Search Regarding:     No. _ _  _ _ _ _ _ _ _ __
                                                     4:21-mj-147


    21-155-04                                  REDACTED SEARCH AND
                                               SEIZURE WARRANT


TO:     ANY AUTHORIZED LAW ENFORCEMENT OFFICER

     An application by a federal law enforcement officer or an attorney for the
government requests the search of the following property more fully described in
Attachment A, attached hereto and incorporated herein by reference.

       I find that the affidavit, or any recorded testimony, establish probable
cause to search and seize the property described above, and that such search
will reveal evidence of violations of 18 U.S.C. §§ 2251, 2252, and 2252A
(production, receipt and possession of child pornography), and 18 U.S.C. §
2422(b), enticement of a minor using the internet, which is more fully described
in Attachment B, attached hereto and incorporated herein by reference.

       YOU ARE COMMANDED to execute this warrant on or before
_09-28-2021
   _ _ _ _ _ _ _ _ _ _ _ _ (not to exceed 14 days)
•x in the daytime - 6:00 a.m. to 10:00 p.m.
• at any time in the day or night as I find reasonable cause has been established.
      Unless delayed notice is authorized below, you must give a copy of the
warrant and a receipt for the property taken to the person from whom, or from
whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

     The officer executing this warrant, or an officer present during the
execution of the warrant, must prepare an inventory as required by law and
promptly return this warrant and inventory to the undersigned Judge.

      • Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification
may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person
who, or whose property, will be searched or seized,
• for _ _ _ days (not to exceed 30).
•     until, the facts justifying, the later specific date of _ _ _ _ _ _ __
 Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 3 of 31 PageID #: 3




09-14-2021
_ ____     at _
              9:00
                 _a.m.
                   __  CDT
                        _ _ _ _ _ _ at Sioux Falls, South Dakota
Date and Time Issued telephonically




                                          VERONICA L. DUFFY
                                          United States Magistrate Judge




                                    [2]
     Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 4 of 31 PageID #: 4




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION


      In the Matter of the Search Regarding:     No. _ _ _ _ _ _ _ _ _ _ __
                                                       4:21-mj-147


      21-155-04                                  REDACTED RETURN



    Date and time warrant executed:

    Copy of warrant and inventory left with:

    Inventory made in the presence of:

    Inventory of the property taken and name of any person(s) seized (attach additional
    sheets, if necessary):




                                     CERTIFICATION
I declare under penalty of perjury that this inventory is correct and was returned along
with the original warrant to the designated judge.


                                                   David Hohn, Special Agent
                                                   Homeland Security Investigations
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 5 of 31 PageID #: 5




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION


 In the Matter of the Search Regarding:      No. _4:21-mj-147
                                                   _ __ _ _ _ _ _ __

 21-155-04                                   REDACTED ATTACHMENT A



                 DESCRIPTION OF LOCATION TO BE SEARCHED

  1. The SUBJECT PREMISES is the residence located at
Wentworth, South Dakota 57075. A




                                          REDACTED




   2. The person of                          , date of birth              , 1992; to
include all cellular phones and vehicles under his control during the service of the
warrant; and




                                          REDACTED




   3. A cell phone with assigned phone number
  Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 6 of 31 PageID #: 6




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION


 In the Matter of the Search Regarding:    No. _ _4:21-mj-147
                                                   _ _ _ _ _ _ _ __

 21-155-04                                 REDACTED ATTACHMENT B



                               Items to be seized

      Evidence of violations of 18 U.S.C. §§ 2251, 2252, and 2252A, including,
but not limited to:

       1.   All visual depictions of minors engaged in sexually explicit conduct
produced using minors engaged in such conduct, on whatever medium (e.g.,
digital media, optical media, books, magazines, photographs, negatives,
videotapes, CDs, DVDs, etc.), including those in opened or unopened e mails.
These include both originals and copies, and authorization is granted to remove
videotapes without viewing them at the time and place of seizure, and to view
them at a later time.

       2.   All documents, to include in electronic form, and stored
communications including contact information, text messages, call logs,
voicemails, Internet searches, photographs, and any other electronic data or
other memory features contained in the devices and SIM cards including
correspondence, records, opened or unopened emails, text messages, chat logs,
and Internet history, pertaining to the possession, receipt, access to, or
distribution of child pornography or visual depictions of minors engaged in
sexually explicit conduct, as defined in Title 18, United States Code, Section
2256, or pertaining to an interest in child pornography or minors whether
transmitted or received, or which tends to show the knowing possession of any
child pornography possessed.

      3.    All communications and files with or about potential minors
involving sexual topics or in an effort to seduce the minor or efforts to meet a
minor.

      4.     All records, documents, invoices, notes and materials that pertain
to accounts with any Internet Service Provider (ISP), cell phone service provider,
or electronic service provider, as well as all records relating to the ownership or
use of the computer equipment or electronic devices.
  Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 7 of 31 PageID #: 7




      5.    All records bearing on the production, reproduction, receipt,
shipment, orders, requests, trades, purchases, or transactions of any kind
involving the transmission in or affecting interstate or foreign commerce
including by United States mail or by computer of any visual depiction of minors
engaged in sexually explicit conduct, as defined in Title 18, United States Code,
Section 2256.

      6.    All records which evidence operation or ownership or use of
computer or electronic equipment or devices, including, but not limited to,
correspondence, sales receipts, bills, financial records, tax records, personal
photographs, telephone records, notebooks, diaries, reference materials, or other
personal items, and registration information for any software on the computer
or device.

       7.    Documents and records regarding the ownership and/ or possession
of the searched premises.

       8.    During the course of the search, photographs of the searched
premises may also be taken to record the condition thereof and/ or the location
of items therein.

      9.     All computer or electronic device passwords, keywords and other
data security devices designed to restrict access to or hide computer software,
documentation or data. Data security devices may consist of hardware, software,
or other programming code. Any password or encryption key that may control
access to a computer/phone operating system, individual computer/phone files,
or other electronic data.

       10.    Evidence and contents of logs and files on a computer, electronic
device, or storage device, such as those generated by the computer's operating
system, which describes the history and use of the device, including but not
limited to files indicating when files were written, were opened, were saved, or
were deleted. Evidence tending to show the identity of the person using the
computer or device at the time any of the items described in paragraph 1-3 were
created, sent, received, or viewed.       Also, any malware resident on the
computer/phone or device.

       11.   During the execution of this search warrant, the law enforcement
~ u t h o r i z e d to depress the fingerprints and/ or thumbprints of
-                 and/or persons at the Subject Premises onto the Touch ID
sensor of any Apple iPhone, iPad, or other Apple brand device with Touch ID in
order to gain access to the contents of any such device. Investigators may also
hold a device up to the subject's face to enable biometric or facial recognition in
order to gain access to a device.
  Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 8 of 31 PageID #: 8




      12.   The following may be seized and searched for all items listed above,
and for any items specifically noted in the paragraphs below:

      a. Computer hardware, meaning any and all computer equipment.
         Included within the definition of computer hardware are any
         electronic devices capable of data processing (such as central
         processing units, laptop or notebook or netbook or tablet
         computers, personal digital assistants, gaming consoles, and
         wireless communication devices to include cellular telephone
         devices capable of Internet access); peripheral input/ output
         devices (such as keyboards, printers, scanners, plotters,
         monitors, and drives intended for removable media); related
         communications devices (such as modems, wireless routers,
         cables and connections, web cameras, microphones); storage
         media, defined below; and security devices, also defined below.

      b. Computer software, meaning any and all data, information,
         instructions, programs, or program codes, stored in the form of
         electronic, magnetic, optical, or other media, which is capable of
         being interpreted by a computer or its related components.
         Computer software may also include data, data fragments, or
         control characters integral to the operation of computer software,
         such as operating systems software, applications software, utility
         programs, compilers, interpreters, communications software,
         and other programming used or intended to be used to
         communicate with computer components.

     c. Computer related documentation, meaning any written,
        recorded, printed, or electronically stored material that explains
        or illustrates the configuration or use of any seized computer
        hardware, software, or related items.

     d. Data security devices, meaning any devices, programs, or data
        whether themselves in the nature of hardware or software that
        can be used or are designed to be used to restrict access to, or to
        facilitate concealment of, any computer hardware, computer
        software, computer related documentation, or electronic data
        records. Such items include, but are not limited to, user names
        and passwords; data security hardware (such as encryption
        devices, chips, and circuit boards); data security software or
        information (such as test keys and encryption codes); and similar
        information that is required to access computer programs or date
        or to otherwise render programs or data into usable form.

     e. All storage media capable of collecting, storing, maintaining,
        retrieving, concealing, transmitting, and backing up electronic
  Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 9 of 31 PageID #: 9




         data. Included within this paragraph is any information stored
         in the form of electronic, magnetic, optical, or other coding on
         computer media or on media capable of being read by a computer
         or computer related equipment, such as fixed hard disks,
         external hard disks, removable hard disks (including micro
         drives), floppy diskettes, compact disks (CDs), digital video disks
         (DVDs), tapes, optical sto_rage devices, laser disks, thumb drives,
         iPods, digital cameras, memory cards (e.g. CF or SD cards),
         gaming consoles, flash drives, or other memory storage devices.
         This also includes areas with digital storage capability on devices
         such as printers, scanners, wireless routers, etc.

      13. As for any cell phones seized, the search of the contents of the cell
phones would be limited to data dated                                       . If
the Government finds any contraband within the date range specified in the prior
sentence, the Government will seek a search warrant to search the entire
contents of the cell phones.

       The above seizure of computer and computer related hardware relates to
such computer related items as being the instrumentalities of crime and also to
allow for analysis/ search for evidence of crime in an appropriate forensic setting.
Upon a determination that such examination would be more appropriately made
in a controlled environment, this storage media may be removed and examined
at a laboratory location.
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 10 of 31 PageID #: 10




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


In the Matter of the Search Regarding:             4:21-mj-147
                                             No. _ _  _ _ _ _ _ _ _ __

21-155-04                                    REDACTED AFFIDAVIT IN
                                             SUPPORT OF SEARCH WARRANT
                                             APPLICATION



STATE OF SOUTH DAKOTA         )
                                  :SS
COUNTY OF MINNEHAHA           )

      I, David Hohn, being first duly sworn on oath, deposes and states:

      1.     I am a Special Agent with the United States Department of
Homeland Security, Immigration and Customs Enforcement (ICE), Homeland
Security Investigations (HSI) in Sioux Falls, South Dakota and have been duly
employed in this position since January 2020. I am a graduate of the Criminal
Investigator Training Program and ICE Special Agent Training Program at the
Federal Law Enforcement Training Center. Prior to my employment with HSI, I
was a United States Probation officer for eleven years. I have received
specialized training pertaining to conducting criminal investigations,
immigration and customs laws, investigative techniques, searching databases,
conducting interviews, executing search warrants, and making arrests with
respect to criminal violations of United States Code.

       2.    I have investigated and assisted in the investigation of cases
involving the possession, receipt, and distribution of child pornography in
violation of 18 U.S.C. §§ 2251, 2252, and 2252A, involving violations of law
involving child pornography and 18 U.S.C. § 2422(b), enticement of a minor
using the internet. During my law enforcement career, I have become familiar
with the modus operandi of persons involved in the illegal production,
distribution, and possession of child pornography and those who engage in
enticement of minors using the internet. Based on my experience and training,
I am knowledgeable of the various means utilized by individuals who illegally
produce, distribute, receive, and possess child pornography.

      3.    I have been informed that 18 U.S.C. § 2422(b) prohibits enticing
minors to engage in sexual acts and that 18 U.S.C. §§ 2251, 2252, and 2252A
prohibit the manufacture, distribution, receipt, and possession of child
pornography. Additionally, I have been informed that 18 U.S.C. § 1466A

                                         1
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 11 of 31 PageID #: 11




prohibits the distribution of visual representations of the sexual abuse of
children and that such depictions include cartoon images.

      4.    I make this affidavit in support of an a
warrant for                 , his residence located at
Wentworth, South D a k ~ J E C T PREMISES") and his cell phone
assigned phone n u m b e r - ·

       5.    The facts set forth in this affidavit are based on my personal
knowledge; knowledge obtained from other individuals, including other law
enforcement officers; interviews of persons with knowledge; my review of
documents; interview reports and computer records related to this
investigation; communications with others who have personal knowledge of the
events and circumstances described herein; and information gained through
my training and experience. This affidavit contains information necessary to
support probable cause for this application and does not contain every material
fact that I have learned during the course of this investigation; however, no
information known to me that would tend to negate probable cause has been
withheld from this affidavit.

                           STATUTORY AUTHORITY

       6.    This investigation concerns alleged violations of 18 U.S.C. § 2252A,
relating to material involving the sexual exploitation of minors.

           a. 18 U.S.C. § 2252A(a)(2) prohibits knowingly receiving or
              distributing any child pornography that has been mailed or
              shipped or transported in interstate or foreign commerce by
              any means, including by computer.

           b. 18 U.S.C. § 2252A(a)(5)(B) prohibits a person from knowingly
              possessing any book, magazine, periodical, film, videotape,
              computer disk, or other material that contains an image of
              child pornography that has been mailed, shipped, or
              transported in interstate or foreign commerce by any means,
              including by computer, or that was produced using materials
              that have been mailed, shipped, or transported in interstate
              or foreign commerce by any means, including by computer.

                                 DEFINITIONS

      7.     The following definitions apply to this affidavit and Attachments A
and B:

           a. "Child Erotica," as used herein, means materials or items
              that are sexually arousing to persons having a sexual

                                        2
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 12 of 31 PageID #: 12




           interest in minors but that are not necessarily, in and of
           themselves, obscene or that do not necessarily depict minors
           in sexually explicit poses or positions.

        b. "Child pornography," as defined in 18 U.S.C. § 2256(8), is
           any visual depiction of sexually explicit conduct where (a)
           the production of the visual depiction involved the use of a
           minor engaged in sexually explicit conduct, (b) the visual
           depiction is a digital image, computer image, or computer-
           generated image that is, or is indistinguishable from, that of
           a minor engaged in sexually explicit conduct, or (c) the visual
           depiction has been created, adapted, or modified to appear
           that an identifiable minor is engaged in sexually explicit
           conduct.

        c. "Cloud-based storage service," as used herein, refers to a
           publicly accessible, online storage provider that collectors of
           child pornography can use to store and trade child
           pornography in larger volumes. Users of such a service can
           share links and associated passwords to their stored files
           with other traders of child pornography in order to grant
           access to their collections. Such services allow individuals to
           easily access these files through a wide variety of electronic
           devices such as desktop and laptop computers, mobile
           phones, and tablets, anywhere and at any time.              An
           individual with the password to file stored on a cloud-based
           service does not need to be a user of the service to access the
           file. Access is free and readily available to anyone who has
           an internet connection.

        d. "Computer," as used herein, refers to "an electronic,
           magnetic, optical, electrochemical, or other high speed data
           processing device performing logical or storage functions,
           and includes any data storage facility or communications
           facility directly related to or operating in conjunction with
           such device" and includes smartphones, and mobile phones
           and devices. See 18 U.S.C. § 1030(e)(l).

        e. "Computer hardware," as used herein, consists of all
           equipment which can receive, capture, collect, analyze,
           create, display, convert, store, conceal, or transmit
           electronic, magnetic, or similar computer impulses or data.
           Computer hardware includes any data-processing devices
           (including, but not limited to, central processing units,
           internal and peripheral storage devices such as fixed disks,
           external hard drives, floppy disk drives and diskettes, and

                                      3
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 13 of 31 PageID #: 13




             other memory storage devices); peripheral input/output
             devices (including, but not limited to, keyboards, printers,
             video display monitors, and related communications devices
             such as cables and connections), as well as any devices,
             mechanisms, or parts that can be used to restrict access to
             computer hardware (including, but not limited to, physical
             keys and locks).

        f. "Computer software," as used herein, is digital information
           which can be interpreted by a computer and any of its
           related components to direct the way they work. Computer
           software is stored in electronic, magnetic, or other digital
           form.   It commonly includes programs to run operating
           systems, applications, and utilities.

        g. "Computer-related documentation," as used herein, consists
           of written, recorded, printed, or electronically stored material
           which explains or illustrates how to configure or use
           computer hardware, computer software, or other related
           items.

        h. "Computer passwords, pass-phrases and data security
           devices," as used herein, consist of information or items
           designed to restrict access to or hide computer software,
           documentation, or data. Data security devices may consist
           of hardware, software, or other programming code.          A
           password or pass-phrase (a string of alpha-numeric
           characters) usually operates as a sort of digital key to
           "unlock" particular data security devices. Data security
           hardware may include encryption devices, chips, and circuit
           boards. Data security software of digital code may include
           programming code that creates "test" keys or "hot" keys,
           which perform certain pre-set security functions when
           touched. Data security software or code may also encrypt,
           compress, hide, or "booby-trap" protected data to make it
           inaccessible or unusable, as well as reverse the progress to
           restore it.

        1.   A provider of "Electronic Communication Service" ("ESP''), as
             defined in 18 U.S.C. § 2510(15), is any service that provides
             to users thereof the ability to send or receive wire or
             electronic communications.        For example, "telephone
             companies and electronic mail companies" generally act as
             providers of electronic communication services. See S . Rep.
             No. 99-541 (1986), reprinted in 1986 U.S.C.C.A.N. 3555,
             3568.

                                       4
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 14 of 31 PageID #: 14




        J.   "Electronic Storage Device" includes but is not limited to
             external and internal hard drives, thumb drives, flash drives,
             SD cards, gaming devices with storage capability, storage
             discs (CDs and DVDs), cameras, cellular phones, smart
             phones and phones with photo-taking and/ or internet
             access capabilities, and any "cloud" storage by any provider.

        k. "File Transfer Protocol" ("FTP"), as used herein, is a standard
           network protocol used to transfer computer files from one
           host to another over a computer network, such as the
           Internet. FTP is built on client-server architecture and uses
           separate control and data connections between the client
           and the server.

        1. "Internet Protocol address" or "IP address," as used herein,
           refers to a unique number used by a computer to access the
           Internet. IP addresses can be "dynamic," meaning that the
           ISP assigns a different unique number to a computer every
           time it accesses the Internet. IP addresses might also be
           "static," if an ISP assigns a user's computer a particular IP
           address that is used each time the computer accesses the
           Internet.
        m. "Internet Service Providers" ("ISPs"), as used herein, are
           commercial organizations that are in business to provide
           individuals and businesses access to the Internet. ISPs
           provide a range of functions for their customers including
           access to the Internet, web hosting, e-mail, remote storage,
           and co-location of computers and other communications
           equipment.

        n. "Records," "documents," and "materials," as used herein,
           include all information recorded in any form, visual or aural,
           and by any means, whether in handmade, photographic,
           mechanical, electrical, electronic, or magnetic form.

        o. "Remote Computing Service" ("RCS"), as defined in 18 U.S.C.
           § 2711 (2), is the provision to the public of computer storage
           or processing services by means of an electronic
           communications system.

        p. "Short Message Service" ("SMS"), as used herein, is a service
           used to send text messages to mobile phones. SMS is also
           often referred to as texting, sending text messages or text
           messaging. The service allows for short text messages to be
           sent from one cell phone to another cell phone or from the

                                        5
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 15 of 31 PageID #: 15




           Web to another cell phone. The term "computer," as defined
           in 18 U.S.C. § 1030(e)(l), means an electronic, magnetic,
           optical, electrochemical, or other high speed data processing
           device performing logical, arithmetic, or storage functions,
           and includes any data storage facility or communications
           facility directly related to or operating in conjunction with
           such device.

        q. "Sexually explicit conduct," as defined in 18 U.S.C. §
           2256(2), means actual or simulated (a) sexual intercourse,
           including genital-genital, oral-genital, or oral-anal, whether
           between persons of the same or opposite sex; (b) bestiality;
           (c) masturbation; (d) sadistic or masochistic abuse; or (e)
           lascivious exhibition of the genitals or pubic area of any
           person.

        r. "Visual depiction," as defined in 18 U.S.C. § 2256(5),
           includes undeveloped film and videotape, data stored on
           computer disc or other electronic means which is capable of
           conversion into a visual image, and data which is capable of
           conversion into a visual image that has been transmitted by
           any means, whether or not stored in a permanent format.

  BACKGROUND ON CHILD EXPLOITATION AND CHILD PORNOGRAPHY,
            COMPUTERS, THE INTERNET, AND EMAIL

     8.     I have had both training and experience in the investigation of
computer related crimes. Based on my training, experience, and knowledge, I
know the following:

        a. Computers and digital technology have dramatically changed
           the way in which individuals interested in child pornography
           interact with each other. Computers basically serve many
           functions for persons who exploit children online; they serve
           as a mechanism for meeting child-victims and communicate
           with them; they serve as a mechanism to get images of the
           children and send images of themselves; computers serve as
           the manner in which persons who exploit children online can
           meet one another and compare notes.

        b. Persons who exploit children online, can now transfer
           printed photographs into a computer-readable format with a
           device known as a scanner. Furthermore, with the advent of
           digital cameras and smartphones with cameras, when the
           photograph is taken it is saved as a digital file that can be
           directly transferred to a computer by simply connecting the

                                      6
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 16 of 31 PageID #: 16




           camera or smartphone to the computer. In the last ten
           years, the resolution of pictures taken by digital cameras
           and smartphones has increased dramatically, meaning that
           such pictures have become sharper and crisper. Photos
           taken on a digital camera or smartphone may be stored on a
           removable memory card in the camera or smartphone.
           These memory cards often store up to 32 gigabytes of data,
           which provides enough space to store thousands of high-
           resolution photographs.    Video camcorders, which once
           recorded video onto tapes or mini-CDs, now can save video
           footage in a digital format directly to a hard drive in the
           camera. The video files can be easily transferred from the
           camcorder to a computer.

        c. A device known as a modem allows any computer to connect
           to another computer through the use of telephone, cable, or
           wireless connection.     Electronic contact can be made to
           literally millions of computers around the world. The ability
           to produce child pornography easily, reproduce it
           inexpensively, and market it anonymously (through
           electronic communications) has drastically changed the
           method of distribution and receipt of child pornography.
           Child pornography can be transferred via electronic mail or
           through file transfer protocols (FTPs) to anyone with access
           to a computer and modem. Because of the proliferation of
           commercial services that provide electronic mail service, chat
           services (i.e., "Instant Messaging"), and easy access to the
           Internet, the computer is a preferred method of distribution
           and receipt of child pornographic materials.

        d. The computer's ability to store images in digital form makes
           the computer itself an ideal repository for child pornography
           and other materials used for the online child exploitation.
           The size of the electronic storage media (commonly referred
           to as the hard drive) used in home computers has grown
           tremendously within the last several years. These drives can
           store thousands of images at very high resolution.          In
           addition, there are numerous options available for the
           storage of computer or digital files. One-Terabyte external
           and internal hard drives are not uncommon. Other media
           storage devices include CDs, DVDs, and "thumb," "jump," or
           "flash" drives, which are very small devices which are
           plugged into a port on the computer. It is extremely easy for
           an individual to take a photo or a video with a digital camera
           or camera-bearing smartphone, upload that photo or video to
           a computer, and then copy it (or any other files on the

                                      7
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 17 of 31 PageID #: 17




              computer) to any one of those media storage devices (CDs
              and DVDs are unique in that special software must be used
              to save or "burn" files onto them). Media storage devices can
              easily be concealed and carried on an individual's person.
              Smartphones and/or mobile phones are also often carried on
              an individual's person.

         e. The Internet affords individuals several different venues for
            meeting and exploiting children in a relatively secure and
            anonymous fashion.

         f.   Individuals also use online resources to exploit children,
              including services offered by Internet Portals such as Gmail
              and Hotmail, among others. The online services allow a user
              to set up an account with a remote computing service that
              provides e-mail services as well as electronic storage of
              computer files in any variety of formats. A user can set up
              an online storage account from any computer with access to
              the Internet. Even in cases where online storage is used,
              however, evidence of child pornography can be found on the
              user's computer or external media in most cases.

         g. As is the case with most digital technology, communications
            by way of computer can be saved or stored on the computer
            used for these purposes. Storing this information can be
            intentional, i.e., by saving an e-mail as a file on the
            computer or saving the location of one's favorite websites in,
            for example, "bookmarked" files. Digital information can
            also be retained unintentionally, e.g., traces of the path of an
            electronic communication may be automatically stored in
            many places (e.g., temporary files or ISP client software,
            among others). In addition to electronic communications, a
            computer user's Internet activities generally leave traces or
            "footprints" in the web cache and history files of the browser
            used. Such information is often maintained indefinitely until
            overwritten by other data.

                                KIK Background

       9.    Kik advertises itself as "the first smartphone messenger with a
built-in browser." Kik Messenger allows its users to "talk to your friends and
browse and share any web site with your friends on Kik." Kik believes it is at
the forefront of the "new era of the mobile web." Kik was founded in 2009 by a
group of University of Waterloo students who started a company designed to
"shift the center of computing from the PC to the phone." According to the
website, Kik Messenger, a free service easily downloaded from the Internet, has

                                        8
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 18 of 31 PageID #: 18




become the simplest, fastest, most life-like chat experience you can get on a
smartphone. Unlike other messengers, Kik usernames - not phone numbers -
are the basis for Kik user accounts, so Kik users are in complete control of with
whom they communicate. In addition, Kik features include more than instant
messaging. Kik users can exchange images, videos, sketches, stickers and
even more with mobile web pages.

       10. The Kik app is available for download via the App Store for most
iOS devices such as iPhones and iPads and is available on the Google PlayStore
for Android devices. Kik can be used on multiple mobile devices, to include
cellular phones and tablets.

      11.   In general, providers like Kik ask each of their subscribers to
provide certain personal identifying information when registering for an
account. This information can include the subscriber's full name, physical
address, and other identifiers such as an e-mail address. However, this
information is not verified by Kik.

       12.   Kik typically retains certain transactional information about the
creation and use of each account on their systems. This information can
include the date on which the account was created, the length of service,
records of log-in (i.e., session) times and durations, the types of service utilized,
the status of the account (including whether the account is inactive or closed),
the methods used to connect to the account, and other log files that reflect
usage of the account. Kik often has records of the Internet Protocol address
("IP address") used to register the account and the IP addresses associated with
particular logins to the account. Because every device that connects to the
Internet must use an IP address, IP address information can help to identify
which computers or other devices were used to access the account. In
addition, generally Kik maintains at least the last 30 days of all
communications for each Kik user and will produce these records when
requested pursuant to a search warrant.

       13.   Kik offers users the ability to create an identity within the app
referred to as a "username." This username is unique to the account and
cannot be changed. No one else can utilize the same username. A Kik user
would have to create a new account in order to obtain a different username.
The username for a particular Kik account holder is generally displayed in their
Kik profile.

      14.   In October 2019, Kik was purchased by MediaLab, a company
operating in the United States. Given the ability for users to create multiple
accounts that are not linked to a specific mobile device (i.e. a phone number), it
has become a popular app used by people involved in the collection, receipt,
and distribution of child pornography.



                                         9
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 19 of 31 PageID #: 19




                        BACKGROUND OF THE INVESTIGATION




      16.                                          documents and files which




            •   Email Address:                         outlook.com


            •   IP Address:              (Login)/ - / 2 0 2 0 at
                approximately 12:40 AM CDT.

     17.   The following subscriber information was identified for the KIK
Messenger account:

            •   Date:


                                               outlook.com (unconfirmed)


      18.   A reversed lookup regarding the internet protocol (IP) address of
                found it resolved back to Midcontinent Communications with a
possible subscriber location of Sioux Falls, SD.

       19.  SA Brown reviewed the 13 video files and determined they were
child pornography. SA Brown described 2 of the videos as:




                                       10
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 20 of 31 PageID #: 20




              •   IP Address:
              •   Start Date:        / 2020
              •   End Date:        / 2020
              •   Last Record Action: Released
              •   Name:
                                                 , Madison, SD 57042
              •   Home Phone:
              •   SSN#:-
              •   Install Date:     2018
              •   Connect Date:      2020
              •   Status Date:      /2020




                                     11
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 21 of 31 PageID #: 21




                                    12
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 22 of 31 PageID #: 22




           The user of the Kik Messen er account,




     25.   This    information     was     m    a    text   document      titled
                      ". Below is the information concerning those video files.

              a.



              b.



              C.




              d.



              e.



              f.



              g.

                                     13
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 23 of 31 PageID #: 23




                       , South Dakota, online records showed that




           Surveillance conducted b    DCI SA Sam




                                      14
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 24 of 31 PageID #: 24




       CHARACTERISTICS COMMON TO INDIVIDUALS WHO HAVE
           A SEXUAL INTEREST IN CHILDREN AND/OR WHO
          RECEIVE AND/OR POSSESS CHILD PORNOGRAPHY

      31.   Based on my previous investigative experience related to child
exploitation investigations, and the training and experience of other law
enforcement officers with whom I have had discussions, I know there are
certain characteristics common to individuals who have a sexual interest in
children and/ or receive, or possess images of child pornography:

        a. Individuals who have a sexual interest in children and/ or
           receive, or possess images of child pornography may receive
           sexual gratification, stimulation, and satisfaction from
           contact with children, or from fantasies they may have
           viewing children engaged in sexual activity or in sexually
           suggestive poses, such as in person, in photographs, or
           other visual media, or from literature describing such
           activity.

        b. Individuals who have a sexual interest in children and/ or
           receive, or possess images of child pornography may collect
           sexually explicit or suggestive materials, in a variety of
           media, including photographs, magazines, motion pictures,
           videotapes, books, slides and/or drawings or other visual
           media. Individuals who have a sexual interest in children
           or images of children oftentimes use these materials for
           their own sexual arousal and gratification. Further, they
           may use these materials to lower the inhibitions of children
           they are attempting to seduce, to arouse the selected child
           partner, or to demonstrate the desired sexual acts.

        c. Individuals who have a sexual interest in children and/ or
           receive, or possess images of child pornography almost
           always possess and maintain their hard copies of child
           pornographic material, that is, their pictures, films, video
           tapes, magazines, negatives, photographs, correspondence,
           mailing lists, books, tape recordings, etc., in the privacy and
           security of their home or some other secure location.
           Individuals who have a sexual interest in children or images
           of children often retain pictures, films, photographs,
           negatives,    magazines,     correspondence,      books,   tape
           recordings, mailing lists, child erotica, and videotapes for
           many years.

        d. Likewise, individuals who have a sexual interest in children
           and/or receive, or possess images of child pornography

                                      15
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 25 of 31 PageID #: 25




              often maintain their child pornography images in a digital or
              electronic format in a safe, secure, and private environment,
              such as a computer and surrounding area. These child
              pornography images are often maintained for several years
              and are kept close by, usually at the possessor's residence ,
              inside the possessor's vehicle, or, at times, on their person,
              to enable the individual to view the child pornography
              images, which are valued highly.

         e. Individuals who have a sexual interest in children and/ or
            receive, or possess images of child pornography also may
            correspond with and/ or meet others to share information
            and materials, rarely destroy correspondence from other
            child pornography distributors/possessors, conceal such
            correspondence as they do their sexually explicit material,
            and often maintain lists of names, addresses, and telephone
            numbers of individuals with whom they have been in
            contact and who share the same interests in child
            pornography.

         f.   Individuals who have a sexual interest in children and/or
              receive, or possess images of child pornography prefer not to
              be without their child pornography for any prolonged time
              period.    This behavior has been documented by law
              enforcement officers involved in the investigation of child
              pornography throughout the world.

                                  CONCLUSION

       32.   Based on my training and experience, and the facts as set forth in
this affidavit, I respectfully submit this affidavit in support of probable cause
for a warrant to search the location of the SUBJECT PREMISES as described
in Attachment A. The facts outlined above show that the locations listed in
Attachment A have been used for the exploitation of children using the internet
including violations of 18 U.S.C. §§ 2251, 2252, and 2252A (production, receipt
and possession of child pornography), which items are more specifically
described in Attachment B.




                                         16
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 26 of 31 PageID #: 26




                                            1d Hohn, Special Agent
                                          Homeland Security Investigations
                                                               14th
     Subscribed and sworn to before me, telephonically, on the __ day of

September, 2021, at Sioux Falls, South Dakota.




                                          VERONICA L. DUFFY
                                          United States Magistrate Judge




                                     17
Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 27 of 31 PageID #: 27




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION


 In the Matter of the Search Regarding:      No. _ _ 4:21-mj-147
                                                     _ _ _ _ _ _ _ __

 21-155-04                                   REDACTED ATTACHMENT A



                 DESCRIPTION OF LOCATION TO BE SEARCHED

  1. The SUBJECT PREMISES is the residence located at
Wentworth, South Dakota 57075. A




                                          REDACTED




   2. The person of                          , date of birth              , 1992; to
include all cellular phones and vehicles under his control during the service of the
warrant; and




                                          REDACTED




   3. A cell phone with assigned phone number
 Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 28 of 31 PageID #: 28




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION


                                                    4:21-mj-147
 In the Matter of the Search Regarding:    No. - - - - - - - -- - - -

 21-155-04                                 REDACTED ATTACHMENT B



                               Items to be seized

      Evidence of violations of 18 U.S.C. §§ 2251, 2252, and 2252A, including,
but not limited to:

       1.   All visual depictions of minors engaged in sexually explicit conduct
produced using minors engaged in such conduct, on whatever medium (e.g.,
digital media, optical media, books, magazines, photographs, negatives,
videotapes, CDs, DVDs, etc.), including those in opened or unopened e mails.
These include both originals and copies, and authorization is granted to remove
videotapes without viewing them at the time and place of seizure, and to view
them at a later time.

       2.   All documents, to include in electronic form, and stored
communications including contact information, text messages, call logs,
voicemails, Internet searches, photographs, and any other electronic data or
other memory features contained in the devices and SIM cards including
correspondence, records, opened or unopened e mails, text messages, chat logs,
and Internet history, pertaining to the possession, receipt, access to, or
distribution of child pornography or visual depictions of minors engaged in
sexually explicit conduct, as defined in Title 18, United States Code, Section
2256, or pertaining to an interest in child pornography or minors whether
transmitted or received, or which tends to show the knowing possession of any
child pornography possessed.

      3.    All communications and files with or about potential minors
involving sexual topics or in an effort to seduce the minor or efforts to meet a
minor.

      4.     All records, documents, invoices, notes and materials that pertain
to accounts with any Internet Service Provider (ISP), cell phone service provider,
or electronic service provider, as well as all records relating to the ownership or
use of the computer equipment or electronic devices.
 Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 29 of 31 PageID #: 29




      5.    All records bearing on the production, reproduction, receipt,
shipment, orders, requests, trades, purchases, or transactions of any kind
involving the transmission in or affecting interstate or foreign commerce
including by United States mail or by computer of any visual depiction of minors
engaged in sexually explicit conduct, as defined in Title 18, United States Code,
Section 2256.

      6.    All records which evidence operation or ownership or use of
computer or electronic equipment or devices, including, but not limited to,
correspondence, sa:les receipts, bills, financial records, tax records, personal
photographs, telephone records, notebooks, diaries, reference materials, or other
personal items, and registration information for any software on the computer
or device.

       7.    Documents and records regarding the ownership and/ or possession
of the searched premises.

       8.    During the course of the search, photographs of the searched
premises may also be taken to record the condition thereof and/ or the location
of items therein.

      9.     All computer or electronic device passwords, keywords and other
data security devices designed to restrict access to or hide computer software,
documentation or data. Data security devices may consist of hardware, software,
or other programming code. Any password or encryption key that may control
access to a computer/phone operating system, individual computer/phone files,
or other electronic data.

       10.    Evidence and contents of logs and files on a computer, electronic
device, or storage device, such as those generated by the computer's operating
system, which describes the history and use of the device, including but not
limited to files indicating when files were written, were opened, were saved, or
were deleted. Evidence tending to show the identity of the person using the
computer or device at the time any of the items described in paragraph 1-3 were
created, sent, received, or viewed.       Also, any malware resident on the
computer/phone or device.

       11.   During the execution of this search warrant, the law enforcement
~ u t h o r i z e d to depress the fingerprints and/ or thumbprints of
-                 and/or persons at the Subject Premises onto the Touch ID
sensor of any Apple iPhone, iPad, or other Apple brand device with Touch ID in
order to gain access to the contents of any such device. Investigators may also
hold a device up to the subject's face to enable biometric or facial recognition in
order to gain access to a device.
 Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 30 of 31 PageID #: 30




      12. The following may be seized and searched for all items listed above,
and for any items specifically noted in the paragraphs below:

     a. Computer hardware, meaning any and all computer equipment.
        Included within the definition of computer hardware are any
        electronic devices capable of data processing (such as central
        processing units, laptop or notebook or netbook or tablet
        computers, personal digital assistants, gaming consoles, and
        wireless communication devices to include cellular telephone
        devices capable of Internet access); peripheral input/ output
        devices (such as keyboards, printers, scanners, plotters,
        monitors, and drives intended for removable media); related
        communications devices (such as modems, wireless routers,
        cables and connections, web cameras, microphones); storage
        media, defined below; and security devices, also defined below.

     b. Computer software, meaning any and all data, information,
        instructions, programs, or program codes, stored in the form of
        electronic, magnetic, optical, or other media, which is capable of
        being interpreted by a computer or its related components.
        Computer software may also include data, data fragments, or
        control characters integral to the operation of computer software,
        such as operating systems software, applications software, utility
        programs, compilers, interpreters, communications software,
        and other programming used or intended to be used to
        communicate with computer components.

     c. Computer related documentation, meaning any written,
        recorded, printed, or electronically stored material that explains
        or illustrates the configuration or use of any seized computer
        hardware, software, or related items.

     d. Data security devices, meaning any devices, programs, or data
        whether themselves in the nature of hardware or software that
        can be used or are designed to be used to restrict access to, or to
        facilitate concealment of, any computer hardware, computer
        software, computer related documentation, or electronic data
        records. Such items include, but are not limited to, user names
        and passwords; data security hardware (such as encryption
        devices, chips, and circuit boards); data security software or
        information (such as test keys and encryption codes); and similar
        information that is required to access computer programs or date
        or to otherwise render programs or data into usable form.

     e. All storage media capable of collecting, storing, maintaining,
        retrieving, concealing, transmitting, and backing up electronic
 Case 4:21-mj-00147-VLD Document 1 Filed 09/14/21 Page 31 of 31 PageID #: 31




         data. Included within this paragraph is any information stored
         in the form of electronic, magnetic, optical, or other coding on
         computer media or on media capable of being read by a computer
         or computer related equipment, such as fixed hard disks,
         external hard disks, removable hard disks (including micro
         drives), floppy diskettes, compact disks (CDs), digital video disks
         (DVDs), tapes, optical storage devices, laser disks, thumb drives,
         iPods, digital cameras, memory cards (e.g. CF or SD cards),
         gaming consoles, flash drives, or other memory storage devices.
         This also includes areas with digital storage capability on devices
         such as printers, scanners, wireless routers, etc.

      13. As for any cell phones seized, the search of the contents of the cell
phones would be limited to data dated                                       . If
the Government finds any contraband within the date range specified in the prior
sentence, the Government will seek a search warrant to search the entire
contents of the cell phones.

       The above seizure of computer and computer related hardware relates to
such computer related items as being the instrumentalities of crime and also to
allow for analysis/ search for evidence of crime in an appropriate forensic setting.
Upon a determination that such examination would be more appropriately made
in a controlled environment, this storage media may be removed and examined
at a laboratory location.
